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UNITED STATES DISTRICT COURT
SOUTHERN DISTRICT OF NEW YORK

    SECURITIES AND EXCHANGE COMMISSION,

                                                  Plaintiff, 12 Civ. 6421 (KMK)

               v.

    EDWARD BRONSON, E-LIONHEART
    ASSOCIATES, LLC, d/b/a FAIRHILLS CAPITAL

                                               Defendants

               and

    FAIRHILLS CAPITAL, INC.

                                         Relief Defendant.



    PLAINTIFF’S APPLICATION FOR A TEMPORARY RESTRAINING ORDER
     AND ASSET FREEZE TO PREVENT THE BRONSONS’ DISSIPATION OR
             LIQUIDATION OF ASSETS WITHOUT OVERSIGHT

        Pursuant to Fed. R. Civ. P. 65(b), plaintiff United States Securities and Exchange

Commission (the “Commission”) seeks a temporary restraining order and asset freeze to

prevent the Bronsons from dissipating or liquidating their assets including but not limited to the

Cadillac Escalade without oversight. 1




1
 The SEC would not object to a reasonable carve out for an alternative vehicle, upon appropriate
proof of the reasonable cost of such vehicle. However, the SEC reserves the right to seek the
repayment of any such carve out depending on the outcome of further discovery and accountings
the SEC will request in connection with the pending contempt proceedings.
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Dated:         New York, New York              s/ Maureen Peyton King
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